                    Case 1:15-cr-00317-JLT-SKO
                                  UNITED STATESDocument 23 Filed
                                                   DISTRICT      11/13/15 Page 1 of 1
                                                               COURT
                                    EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                             )
               v.                                            )   1:15-CR-00317-LJO SKO
                                                             )
                                                             )
JOSHUA ANDREW SOTO
                               APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      (X) Ad Prosequendum                                  ( ) Ad Testificandum.
Name of Detainee:            JOSHUA ANDREW SOTO
Detained at (custodian):     SALINAS VALLEY STATE PRISON
Detainee is:        a.)   (X) charged in this district by:
                                 (X) Indictment                  ( ) Information      ( ) Complaint
                                 Charging Detainee With:         21 U.S.C. ' 846 and 841 (a) (1)-Conspiracy to
                                                                 Distribute and Possess with intent to distribute
                                                                 methamphetamine

         or         b.)   ( ) a witness not otherwise available by ordinary process of the Court
Detainee will: a.)        (X) return to the custody of detaining facility upon termination of proceedings
       or     b.)         ( ) be retained in federal custody until final disposition of federal charges, as a sentence is
                          currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                   Signature:/s/Kimberly A. Sanchez
                                   Printed Name & Phone No: KIMBERLY A SANCHEZ/ 559-497-4000
                                   Attorney of Record for:      United States of America
                                        WRIT OF HABEAS CORPUS
                       (X) Ad Prosequendum                                  ( ) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the
above-named custodian.

Date Nov 13, 2015                                                        United States District/Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):                                                                       Male X   Female

 Booking or CDC #:                 V037673                                                     DOB:     09/02/1981
                                   Release Date:                                               Race:
 Facility Address:ReleRe
                                                                                               FBI #:   572590PB8
 Facility Phone:
 Currently Incarcerated For:
                                                    RETURN OF SERVICE

Executed on                   by
                                                                                 (Signature)

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Form Crim-48
